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From:             Michael Stolper
To:               Ryan M. Billings
Cc:               Dov B. Gold; Benjamin D. LaFrombois; William E. Fischer
Subject:          RE: Convergen- Violation of Protective Order
Date:             Monday, September 7, 2020 9:35:10 AM



If you are referring to Docket #s 148.1 and 148.2, the documents are not
confidential. These are ordinary course contracts reflecting part of Brooks’
role in the scheme.

Even if they were confidential, you seem to overlook paragraph 8(g) that
allows us to submit confidential documents to the Court.

If you think these are confidential and worthy of being sealed,
notwithstanding what paragraph 15 says about that, you are free to try
over our objection.

In the meantime, you should be a little more careful when accusing
someone of violating a court order.

From: Ryan M. Billings <RBillings@kmksc.com>
Sent: Friday, September 4, 2020 11:34 PM
To: Michael Stolper <mstolper@seidenlegal.com>
Cc: Dov B. Gold <dgold@seidenlegal.com>; Benjamin D. LaFrombois
<blafrombois@vonbriesen.com>; William E. Fischer <wfischer@vonbriesen.com>
Subject: RE: Convergen- Violation of Protective Order

By publicly filing the documents, you disclosed Confidential Information to persons (namely the
public) beyond those to whom such disclosure is permitted under paragraph 8.

Ryan M. Billings, Esq.
Kohner, Mann & Kailas, S.C.
4650 N. Port Washington Rd.
Washington Bldg., 2nd Floor
Milwaukee, WI 53212-1059
Phone: 414.962.5110
Fax: 414.962.8725
Email: rbillings@kmksc.com
Web / Bio



From: Michael Stolper <mstolper@seidenlegal.com>
Sent: Friday, September 4, 2020 10:26 PM
To: Ryan M. Billings <RBillings@kmksc.com>
Cc: Dov B. Gold <dgold@seidenlegal.com>; Benjamin D. LaFrombois


                                              EXHIBIT A
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<blafrombois@vonbriesen.com>; William E. Fischer <wfischer@vonbriesen.com>
Subject: Re: Convergen- Violation of Protective Order

What provision exactly do you believe we violated?


      On Sep 4, 2020, at 11:11 PM, Ryan M. Billings <RBillings@kmksc.com> wrote:


      Dov,

      You violated the Court’s Protective Order by publicly filing two documents that were
      designated by Ms. Brooks as Confidential pursuant to the Court’s Protective Order, and
      concerning which none of your clients were senders or recipients. Please take
      immediate corrective action. Ms. Brooks reserves all rights.

      Ryan

      Ryan M. Billings, Esq.
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      Milwaukee, WI 53212-1059
      Phone: 414.962.5110
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                                      EXHIBIT A
